Case 1:10-cr-00317-REB Document 735-12 Filed 01/17/14 USDC Colorado Page 1 of 2

NOTICE OF AND RESCISSION OF COPY OF MAILING ENVELOPE
ADDRESSED TO U.S. DISTRICT COURT FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 CVE.

Clerk of the Court

United States District Court
901 19th Street, Room A-105

Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 181 Filed 03/31/11 USDC Colorado Page 1 of 1
copy of mailing envelope addressed to U.S. DISTRICT COURT GREGORY C. LANGHAM, CLERK OF
THE COURT 901 19th STREET, ROOM A-105 DENVER, CO 80294-3589 DOCKET #169 10-317 REFUSED
FOR CAUSE Without Dishonor/UCC 3-501 ... Returned to sender improper jurisdiction and
venue ... returned on ("03/27/2011") That I do not accept your offer to contract. BOP
public servants opened this envelope unauthorized on 3/25/2011"

PLEASE TAKE NOTICE that I Richard Kellogg Armstrong, sentient moral being rescind the
original "Case 1:10-cr-00317-REB Document 181 Filed 03/31/11 USDC Colorado Page 1 of 1
copy of mailing envelope addressed to U.S. DISTRICT COURT GREGORY C. LANGHAM, CLERK OF
THE COURT 901 19th STREET, ROOM A-105 DENVER, CO 80294-3589 DOCKET #169 10-317 REFUSED
FOR CAUSE Without Dishonor/UCC 3-501 ... Returned to sender improper jurisdiction and
venue ... returned on ("03/27/2011") That I do not accept your offer to contract. BOP
public servants opened this envelope unauthorized on 3/25/2011" including every copy
for cause. I made a mistake creating, presenting and filing the MAILING ENVELOPE
ADDRESSED TO U.S. DISTRICT COURT. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act and
deed,

Lamy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", 2"You
are snared by the words of you mouth; you are taken by the words of your mouth." 3"So qo this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."

"Give no sleep to your eyes, nor slumber to your eyelids." -"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

FILED

UNITED STATES DISTRICT COURT Sincerely
VER, COLORADO Wh hey Lh Je Lp 4“ CG FA
JAN 1 7 2014 Richard Kellogg Armstrong
c/o 20413~298
JEFFREY P. COLWELL Federal Correctional
CLERK Institution - Lompoc

3600 Guard Road
Lompoc, California

 

Footnotes: 1 proverbs 6:1, ?Proverbs 6:2, 3Proverbs 6:3, “Proverbs 6:4, Proverbs 6:5
Attachment: "supra"

cc: UNITED STATES DISTRICT COURT 901 19th Street Denver, Colorado 80294
cc: Honorable Robert Blackburn, Judge, United States District Court 901 19th Street Denver, Colorado 80294

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Richard Kellogg Armstrong #20413-298

FEDERAL CORRECTIONAL INSTITUTION

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